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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES — * CIVIL ACTION
CONSOLIDATED LITIGATION * 05-4182
PERTAINS TO: * SECTION “K” (2)
Williams, C.A. No. 06-10714 *

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MOTION TO ENROLL ADDITIONAL COUNSEL OF RECORD

NOW COMES plaintiff, ANDREW WILLIAMS, JR., through undersigned counsel, and
moves this Court for an Order enrolling Margaret E. Madere, Louisiana Bar Roll Number 28666,

of the Law Offices of John W. Redmann, PLC as additional counsel of record for the plaintiff in

the captioned matter.

WHEREFORE, the plaintiff prays that this Court enter an Order enrolling Margaret E.

Madere as additional counsel of record.

RESPECTFULLY SUBMITTED:

/S/JIOHN W_REDMANN

John W. Redmann, La. Bar No. 19984
Margaret E. Madere, La. Bar No. 28666
Law Offices of John W. Redmann, PLC
5407 MacArthur Boulevard

New Orleans, LA 70131

Telephone: (504) 433-5550
Certificate: I hereby certify that on this_2™ day of Facsimile: (504) 433-5556
April, 2007, a copy of this pleading has been served A . for Plaintifé
upon all counsel of record in this action by depositing ttorneys lor Plaintift,

same in the United States mail, properly addressed, ANDREW WILLIAMS, JR.
first class postage prepaid. SOHN W_HBREDMANN

